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EXHIBIT
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Natonwide Life Inaurance Company BENEFICIARY CLAIM FORM

Nationwide Lite aod Annuity Insurance Company
Natlonwide Life Insurance Company of America.
Netonwide Lie and Anmaity Company of America
P.O. Box 182835, Colinbts, OM ae oee Customer Contact Information
LW BLStele TST rem ww. natlonwide.com TOD: 1-860-238-3035
Fax: 1-888-67 7-7383

ey

Section 1: General Information — Please print.

Please accept our deepest sympathies for your foss, This form is designed to collect information needed to
complete your claim.

{MPORTANT: Sections 1, 2, and 5 must be completed.

A certified Death Cerfificate bearing the seal of the appropriate local, state or federat agency issuing the
certificate must accompany this completed form. :

Each beneficlary must complete a separate claim form.

To expedite the Processing of this claim, you can fax the completed claim form along with a copy of the
certified death certificate to 4-888-677-7393. ’

da. Deceased Information.

a,

ang Policy Number(s): L ~O 3Y ZO of 30 CO
requ .
Deceased First Name: bx AR vv

Deceased tastName:_ ©. AK LOR
Date of Death: “ess 2 Oe,

ib. Benefictary Information. Must be completed,
Beneficlary Name: (J ZZ CL. LAN

LEEEMPIF.

Residential Address: nn ne ;
{PO Box address is not accepisd * |
Mailing Address:

(if different than residential)

City/State/Zip Code:
cov: Je... date of ith, ST,
Daytime Telephone Nurte r ‘oo: Seg.

The next Section, Settlement Options, provides three distribution options for your death benefit proceeds.

For information about what other options are available to you, please call us at 4 ~800-243-6295 or |

TDD: 1-800-238-3035,

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Section 2: Sattlement Options — Please select one option.

Please Note: Policy owners have the option to choose In advance how their beneficiaries will recaive the money.
Hf that Is the case for you, we'll carry out the policy owner's instructions and provide complete details to you in

writing.
[} Option 1—Lump Sum Payment Option — Nationwide Bank Secure Money Market Account

We will establish a Nationwide Bank Secure Money Market Account in the beneficlary's name and deposit all
proceeds into the account. You will have immediate access to these proceeds by check and this account will earn

interest

Benefits of the Nationwide Bank Secure Money Market Account:
e An attractive variable tiered rate of interest.
A safe account to hold funds separate from your everyday funds.
FDIC insurance coverage, up to $250,000 per depositor.
Free personalized checks provided by Nationwide Bank.
Dedicated Customer Care Specialists ready to help you when you call them at 1-877-422-6569.

No monthly service fees.

* ¢ @ @ @

The following fields MUST be completed for the Nationwide Bank Secure Money Market Account option:
IDe: Issue State: (Devers License []Militery1D [State 1D

Please note: For your protection, accounts are raviawed under US banking mules to confirm eligibility. Interest
eamed is reportable to the IRS. Please consult your tax advisor for additlonal Information.

yOption 2-— Lump Sum Payment Option -- Single Check or Direct Deposit

This option provides a single full payment. You can choose from receiving the death benefit proceeds either
in the form of a check or have It transferred to your checking or savings account.

Benefits of a Single Check:

+ One transaction access to your money.

* Flexibility to transfer directly into your checking or savings account.
important: Please select elther check or direct deposit from below.

BaCheck (a chack will be mailed to‘you using the address entered on page 1, section 1b.).
[_] Direct Deposit (complete the information and follow the instructions below). |

Financia Institution Name: . |

Financial institution Phone Number: (__)

You must attach a voided check if depositing into your checking account. If depositing into your savings
account, a letter,from.your financiat institution will be required. The deposit into your checking or savings account
will normally occur four (4) businéss days after the date the claim transaction is processed. Please note deposit |

slips are not acceptable.

Important: If a voided check (or letter from your ban/financial institution) is not included, a check will |
automatically be maited to the address you provided us, The checking/savings accountholder must be the same

as the beneficlary. |

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Section 3: Taxpayer ID Cartlfication

The Intemal Revenue Service does not require your consent to any provision of this document other than the
certifications required to avoid backup withholding.

Certification — Under penalties of perjury, | certify that:

(3} The number shown on this form is my correct taxpayer identification number, and

(2) | am not subject to backup withholding because {a) ! have not been notified that | am subject to backup
withholding as a result of a failure to report all interest or dividends, or (6) the internal Revenue Service has
‘notified me that | am no tonger subject to backup withholding, or that | am exempt from backup withholding, and

(3) | am a United States citizen (including a U.S. resident alien).

You must cross out item (2) if you have been notified by the IRS that you are currently subject to backup
withholding because of failure to report interest or dividends on your tax raturn.

Section 4: State Fraud Statements

Alabama, Alaska, Arizona, Georgia, Hawaii, [daho, Htinois, Indiana, lowa, Kentucky, Maryland,
‘Massachusetts, Montana, Nebraska, New Hampshire, Mississippi, Ohlo, Oklahoma, Oregon, Puerto Rico,
Rhode Istand, South Dakota, Texas, Utah, Vermont, West Virginia, Wisconsin and Wyoming Any person who
submits an application or a dalm containing a false or deceptive statement, and dogs so with intent to defraud or
knowing that he/she is facilitating a fraud against an insurer, may be guilty of Insurance fraud. a
Arkansas Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or
knowingly presents false information in an application for Insurance is guilty of a crime and may be subject to fines
and confinement In prison. . . -
Colorado Important Notice: It is unlawful fo knowingly provide faise, Incomplete or misseading facts or information
fo an insurance campany for the purpose of defrauding or attempting to defraud tha company. Penalties may
include imprisonment, fines, denial of Insurance and civil damages. Any insurance company or agent of an
insurance company who Knowingly provides false, incomplete, or misleading facts or information to a policyholder
or claimant for the purpose of defrauding or attempting to defraud the policyholder or claimant with regard toa
settlement or award payable from insurance proceeds shall be reported to the Colorado division of Insurance
within the department or.ragulatory agencies. .

District of Columbla. Wamlng: It is a crime to provide falsa or misleading information to an insurer for the
purpose of defrauding the insurer or any other person. Penalties Include imprisonment and/or fines. In addition,
an insurer may deny insurance benefits If false information materially retated to a claim was provided by the
applicant.

Florida Any person who knowingly and with Intent to injure, defraud or decelve any insurer files a statement of
claim or an application containing any false, incomplete, or misleading Information is gullty of a falony of the third
degree.

Kansas, Nevada, North Carolina and North Dakota Any persen who submits an application or a clalm
containing a false or decaptive statement, and does so with intent to defraud or knowing that he/she is facilitating a
fraud against an insurer, may be guilty of Insurance fraud.

Louislana Caution: If your ancwors on this application are incorrect or untrue, Nationwide has the right to dany
benefits or rescind your policy. Any person who knowingly presents false or fraudulent claim for payment of a loss
or benefit or knowingly presents false Information in an application for insurance is gulity of a crime and may be 1
subject to fines and confinement in prison. _. ° :
Maine, Tennessee it is a crime to knowingly provide false, incomptete or misleading information to en insurance
company for the purpose of defrauding the company. Penalties Include imprisonment, finas and danlal of

insurance benefits.

Missouri Caution: if your answers on this appiication are incorrect or untrue, Nationwide has the right to deny
benefits or rescind your policy. Fraud Statement Any person who submits an application or a claim containing a
false or deceptive stalement, and does so with Intent to defraud or knowing that he/she is facililating a fraud

against an insurer, may be guilty of insurance fraud.

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Section 4: State Fraud Statement, continued

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New Jersey Any person who includes any falss or misteading information on an application for an insurance policy
is subject to criminal and civil penalties.

New Mexico Any person who knowingly presents a false or fraudulent claim for payment of a loss or benefit or
knowingly presents false information in an application for Insurance is guilty of a crime and may be subject to civil
fines and criminal penalties.

New York Any person who knowingly and with intent to defraud any insurance company or other person files an
application for insurance or statement of clalm containing any materially false information, or conceals for the
purpose of misleading, information concaming any fact material thereto, commits a fraudulent insurance act, which
is a crime, and shalf also be subject to a civil penalty not to exceed five thousand dollars and the stated value of

the claim for each such violation.
Pennsylvania Any person who knowingly and with intent to defraud any insurance company or other person files

an application for insurance of statement of claim containing any materially false Information or conceals for the
purpose of misleading, information conceming any fact material thereto commits a fraudutent insurance act, which

Is a crime and subjects such person fo criminal and civil penalties.
Virginia Any person who, with the intent to defraud or knowing that he/she is facilitating a fraud against an insurer,
submits an application or files a claim containing a false or decaptive statement may have viotated state law.

Washington Any person who knowingly presents a false or fraudulent claim for payment of a loss or knowingly
makes a false statement in an application for insurance may be guilty of a criminal offense under state law. -

Section 5: Authorization — Signature Required

If t selected the Nationwide Bank Secure Money Market Account Option, | understand and agree, by Signing this
form that Nationwide Bank will access and utilize consumer report information to open my account. | authorize my
Information to be shared with Nationwide Bank, for purposes of establishing my Secure Money Market Account.
To help the government fight the funding of terrorism and money. laundering activities, Federal law requires all
financial institutions to obtein, verify, and record Information that identifies each parson who opens an account.
What this means for me: When f open an account, Nationwide Bank asks for my name, address, date of birth, and
other information that will allow them to identify me. Nationwide Bank may ask to see my driver's license or other

idantifying documents.

I certify under penalties of perjury that all statements are true, correct and complete to the best of my knowledge
and bellef. | understand that the furnishing of this form by the Company does not constitute an admission that
there Is any Insurance In force.

_b— TY

Signature of Beneficlary Date Soclal Security Number

{individual Bensiiciary)

Signature of Legally Appointed Guardian Date Minor Beneficlary’s Social Security.
Number

(indlvidual Beneficiary Is a minor or mentally incompetent parson) A certified copy of guardianship papers must be fumisied.

Please contact our Customer Service Center at 1-800-243-6295 If you have any questions. {f you have a
Telecommunications Device for the Daaf (TDD), you may access our TOD services at 1-800-238-3035. Customer
Service Representatives are available to assist you Monday through Friday from 8:00 a.m. to 8:00 p.m. EST.

To expedite the claim process, you may overnight the completed claim form along with any other required form(s)
to the following address:

Nationwide Life Operations

RR1-04-D4 :

5100 Rings Rd.

Dublin, Ohlo 43017

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